               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                          CIVIL NO. 3:17CV556-RJC
                               (3:12CR68-RJC)


JONATHAN DAVEY,                           )
                                          )
                        Petitioner,       )
                                          )
            vs.                           )
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Respondent.       )
_________________________________________ )

     GOVERNMENT’S RESPONSE IN OPPOSITION TO PETITIONER’S
           MOTION FOR DISCOVERY OF AN AUDIO FILE

       Two-and-a-half years after filing a motion to vacate, Jonathan Davey moves

this Court to provide an alleged audio file of pretrial proceedings. The United

States respectfully requests that this Court deny the motion because the

information sought is irrelevant to the issues in Davey’s motion to vacate and would

not entitle him to relief.

       To obtain leave to pursue discovery, Davey has the burden to show “good

cause” under Rule 6(a) of the Rules Governing Section 2255 Proceedings. See Bracy

v. Gramley, 520 U.S. 899, 908 (1997). “A habeas petitioner . . . is not entitled to

discovery as a matter of ordinary course,” but rather, is entitled to discovery only

“‘where specific allegations before the court show reason to believe that the

petitioner may, if the facts are fully developed, be able to demonstrate that he is . . .

entitled to relief.’” Id. at 904, 908–09 (quoting Harris v. Nelson, 394 U.S. 286, 300



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(1969)); see United States v. Roane, 378 F.3d 382, 403 (4th Cir. 2004). “Rule 6 . . .

does not authorize fishing expeditions.” Ward v. Whitley, 21 F.3d 1355, 1367 (5th

Cir. 1994).

      Davey cannot establish good cause because his claimed need for the alleged

audio file is irrelevant to the claims in his motion to vacate. In his motion to vacate,

Davey raised claims of ineffective assistance of counsel and prosecutorial

misconduct. See Civ. Doc. No. 1. He now requests production of an alleged audio

file of pre-trial proceedings “to prove that [J]udge Conrad was prejudiced against

Davey which resulted in biased rulings detrimental to the defense.” Civ. Doc. No.

11, at 2. In particular, he seeks to challenge this Court’s granting of the United

States’ motion in limine to exclude references to an investigation by the

Commodities Futures Trading Commission. Id. at 1. Even if such an audio file

exists, Davey is not entitled to discovery of it because it is not relevant to the claims

in his § 2255 motion. He did not raise an evidentiary challenge to this ruling, nor

did he allege judicial bias in his motion to vacate. See United States v. Ochs, 548 F.

Supp. 502, 528 n.97 (S.D.N.Y. 1982) (denying motion to “correct” testimony where

alleged corrections were immaterial to the issues and the transcript was certified by

the court reporter). Any attempt to add such claims now would be futile because

such claims would be untimely, procedurally barred, and without merit. See 28

U.S.C. § 2255(f) (addressing statute of limitations); Bousley v. United States, 523

U.S. 614, 621–22 (1998) (addressing procedural default); Burket v. Angelone, 208

F.3d 172, 186 (4th Cir. 2000) (holding a habeas court does not review evidentiary



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issues unless the “rulings were so extreme as to result in a denial of a

constitutionally fair proceeding”).

      Davey’s conclusory assertion that the transcript of the proceedings may not

accurately reflect a statement made by this Court when granting the motion in

limine is insufficient to entitle him to discovery of any audio tape of the proceedings.

Id. at 1. The court reporter certified that the transcript was a “true and correct

transcript” of the proceedings in accordance with 28 U.S.C. § 753. Crim. Doc. No.

278, at 76; see United States v. Davis, 648 F. App’x 295, 297 (4th Cir. 2016)

(recognizing that audio backups of a court reporter’s stenographic record generally

constitute the reporter’s personal property, not court records). Therefore, the

transcripts are presumed to be correct. See United States v. Zammiello, 432 F.2d

72, 73 (9th Cir. 1970). Davey’s alleged recall of the testimony is insufficient to

overcome this statutory presumption. See Davis v. United States, No. 1:08CV531,

2009 WL 1628882, at *6–*7 (W.D.N.C. 2009). Moreover, Davey never objected to

the transcripts despite their having been prepared in May 2016 and used during his

direct appeal.

      Finally, even if Davey could raise this claim and his allegation regarding the

transcript were accepted as true, he still could not show that he is entitled to relief

because the alleged comment was made outside the presence of the jury, and this

Court’s evidentiary ruling was proper and did not deny Davey his constitutional

rights. See § 2255 (providing relief for constitutional violations); Fed. R. Evid. 403;




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Crim. Doc. No. 274, at 6, 61. Therefore, Davey’s motion for discovery should be

denied.

                                  CONCLUSION

      For the foregoing reasons, the United States respectfully requests that this

Court deny Davey’s motion.

RESPECTFULLY SUBMITTED this 24th day of March, 2020.

                                R. ANDREW MURRAY
                                UNITED STATES ATTORNEY

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                          CERTIFICATE OF SERVICE

       I certify that I caused to be served a copy of the above response upon the
Petitioner by U.S. Mail at the following address:

      Jonathan Davey
      No. 27328-058
      FCI Elkton
      Federal Correctional Institution
      P.O. Box 10
      Lisbon, OH 44432

      This 24th day of March, 2020.



                                 s/Elizabeth M. Greenough
                                 Assistant United States Attorney
                                 USAO Charlotte, NC




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